Filed 02/04/19                                         Case 13-16155                                          Doc 680

                                            UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF CALIFORNIA
                                                     FRESNO DIVISION

             In re:                                          §    Case No. 13-16155
                                                             §
             MICHAEL WEILERT                                 §
             GENEVIEVE M. DE MONTREMARE                      §
                                                             §
                                 Debtor(s)                   §

                      CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
                      CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                                 AND APPLICATION TO BE DISCHARGED (TDR)

                     James E. Salven, chapter 7 trustee, submits this Final Account, Certification that the
             Estate has been Fully Administered and Application to be Discharged.

                  1)       All funds on hand have been distributed in accordance with the Trustee’s Final
           Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
           administered and all assets and funds which have come under the trustee’s control in this case
           have been properly accounted for as provided by law. The trustee hereby requests to be
           discharged from further duties as a trustee.

                  2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
           claims discharged without payment, and expenses of administration is provided below:



           Assets Abandoned:             $11,068,372.00          Assets Exempt:        $841,339.00
           (without deducting any secured claims)



           Total Distributions to                                Claims Discharged
           Claimants:                        $2,206,136.49       Without Payment:      $0.00

           Total Expenses of
           Administration:                   $695,592.74


                   3)      Total gross receipts of $2,901,729.23 (see Exhibit 1), minus funds paid to the
           debtor(s) and third parties of $0.00 (see Exhibit 2), yielded net receipts of $2,901,729.23 from
           the liquidation of the property of the estate, which was distributed as follows:




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                                              CLAIMS              CLAIMS           CLAIMS              CLAIMS
                                            SCHEDULED            ASSERTED         ALLOWED               PAID
             Secured Claims
             (from Exhibit 3)                $2,334,591.00       $2,687,788.30    $1,283,048.03      $1,280,403.03
             Priority Claims:
                 Chapter 7
                 Admin. Fees and                      NA           $695,591.75     $695,592.74         $695,592.74
                 Charges
                  (from Exhibit 4)
                 Prior Chapter
                 Admin. Fees and                      NA                 $0.00            $0.00               $0.00
                 Charges (from
                 Exhibit 5)
                 Priority
                 Unsecured                          $0.00            $1,150.70        $1,035.70          $1,035.70
                 Claims
                 (From Exhibit 6)
             General Unsecured
             Claims (from                    $8,426,465.19       $1,223,153.69     $922,052.76         $922,052.76
             Exhibit 7)
                      Total
                Disbursements               $10,761,056.19       $4,609,284.44    $2,901,729.23      $2,901,729.23

                   4). This case was originally filed under chapter 7 on 09/13/2013. The case was pending
             for 63 months.

                  5). All estate bank statements, deposit slips, and canceled checks have been submitted to
             the United States Trustee.

                   6). An individual estate property record and report showing the final accounting of the
             assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
             each estate bank account, showing the final accounting of the receipts and disbursements of
             estate funds is attached as Exhibit 9.

                  Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
             foregoing report is true and correct.

                    Dated: 12/21/2018                                 By: /s/ James E. Salven
                                                                      /Ja Trustee
                                                                      mes
                                                                      E.
             721-13-16155 Weilert TDR Salven
                                                                      Sal
                                                                      ven

             STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
             Act exemption 5 C.F.R. § 1320.4(a)(2) applies.



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                                                             EXHIBITS TO
                                                            FINAL ACCOUNT

            EXHIBIT 1 – GROSS RECEIPTS

                                   DESCRIPTION                                      UNIFORM                          AMOUNT
                                                                                   TRAN. CODE                       RECEIVED
           332 Falcon Crest Dr., Arroyo Grande, CA (rents collected by               1110-000                       $840,000.00
           property manager)
           9049 E. Shaw Ave., Clovis                                                 1110-000                       $850,000.00
           Sierra Pathology Building, LLC - 1/9th partjership interest               1110-000                       $220,000.00
           (negative casdh flow)
           Shaw Ave. rents                                                           1122-000                         $2,000.00
           Atlas Movers-Deposit                                                      1129-000                        $18,900.00
           Endless Pools, Inc.-deposti                                               1129-000                        $18,900.00
           Michael Weilert, MD Inc - 100% shares of medical corp which               1149-000                       $496,561.42
           owns partnership interest in Pathology Associates, vehicles,
           Arroyo Grande- rents                                                      1222-000                        $29,517.81
           Compromise Settlement                                                     1249-000                        $25,850.00
           Malpractice Claim against former counsel Wild Carter                      1249-000                       $400,000.00
           TOTAL GROSS RECEIPTS                                                                                    $2,901,729.23

            The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

            EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES
            NONE


            EXHIBIT 3 – SECURED CLAIMS

             CLAIM         CLAIMANT            UNIFORM              CLAIMS              CLAIMS   CLAIMS               CLAIMS
            NUMBER                            TRAN. CODE         SCHEDULED            ASSERTED ALLOWED                  PAID
                 5       California Bank         4110-000           $102,000.00        $100,799.27    $117,951.7    $117,951.72
                         and Trust                                                                             2
                 12      James P. Erb            4700-000                  $0.00         $4,584.28     $2,057.31      $2,057.31
                 13      Falcon Ridge            4210-000                  $0.00           $265.50     $2,645.00             $0.00
                         Estates
                         Homeowners
                         Assn.
                 14      Fresno County           4700-000                  $0.00         $4,532.76     $3,423.81      $3,423.81
                         Tax Collector
                 99      Bank of America         4110-000           $389,791.00        $413,065.49    $413,065.4    $413,065.49
                         Home Mortgage                                                                         9
                         Brian L. Gwartz         4120-000         $1,553,800.00      $2,164,541.00    $743,904.7    $490,000.00
                         and Cheryl A.                                                                         0
                         Skigin Co trustees
                         of the Pendragon
                         Trus
                         M&T Bank                4110-000           $289,000.00               $0.00        $0.00             $0.00
           TOTAL SECURED CLAIMS                                   $2,334,591.00      $2,687,788.30 $1,283,048. $1,026,498.3
                                                                                                           03             3

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            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                  PAYEE               UNIFORM         CLAIMS     CLAIMS            CLAIMS        CLAIMS
                                     TRAN. CODE    SCHEDULED   ASSERTED          ALLOWED           PAID
           James E. Salven,             2100-000         NA        $110,301.88   $110,301.88   $110,301.88
           Trustee
           James E. Salven,             2200-000         NA          $2,059.52     $2,059.52     $2,059.52
           Trustee
           International Sureties,      2300-000         NA          $1,463.16     $1,463.16     $1,463.16
           LTD
           3 months                     2420-000         NA           $987.00       $987.00       $987.00
           landscaping/irrig.
           repairs.
           California Secretary of      2420-000         NA            $30.00        $30.00        $30.00
           State
           Garcia Landscaping           2420-000         NA           $840.00       $840.00       $840.00
           Garcia Landscaping-          2420-000         NA           $342.00       $342.00       $342.00
           irrig. repair
           Landscaping                  2420-000         NA           $840.00       $840.00       $840.00
           Management fees              2420-000         NA           $223.60       $223.60       $223.60
           Mgt. fee                     2420-000         NA           $223.60       $223.60       $223.60
           Pest control                 2420-000         NA            $52.00        $52.00        $52.00
           Pest Control-$52.00          2420-000         NA            $52.00        $52.00        $52.00
           Pest/Rat control             2420-000         NA           $104.00       $104.00       $104.00
           Pope Mgmt.                   2420-000         NA           $191.60       $191.60       $191.60
           Pope Property Mgt.           2420-000         NA           $415.20       $415.20       $415.20
           Pope Property Mgt.           2420-000         NA           $191.60       $191.60       $191.60
           fee
           Pope property mgt.           2420-000         NA           $303.94       $303.94       $303.94
           fees
           Rat control                  2420-000         NA            $52.00        $52.00        $52.00
           Sierra Pathology             2420-000         NA          $4,416.00     $4,416.00     $4,416.00
           Building, LLC
           White Flag Pest              2420-000         NA           $156.00       $156.00       $156.00
           control
           Yeates & Mendoza             2420-000         NA          $1,410.00     $1,410.00     $1,410.00
           Roofing for roofing
           repairs/materials.
           Pope Property Mgt.           2420-750         NA           $191.60       $191.60       $191.60
           fees
           Fidelity National Title      2500-000         NA           $510.00       $510.00       $510.00
           Co.
           misc closing costs           2500-000         NA           $864.95       $864.95       $864.95
           title and escrow fees        2500-000         NA          $8,693.75     $8,693.75     $8,693.75
           Integrity Bank               2600-000         NA         $50,332.67    $50,332.67    $50,332.67
           FRANCHISE TAX                2820-000         NA          $5,201.76     $5,201.76     $5,201.76

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           BOARD
           PETER L. FEAR,                3210-000                NA        $166,059.00      $166,059.00          $166,059.00
           Attorney for Trustee
           Daniel B. Spitzer,            3210-600                NA        $190,961.91      $190,961.91          $190,961.91
           Special Counsel for
           Trustee
           PETER L. FEAR,                3220-000                NA          $5,264.59           $5,265.58         $5,265.58
           Attorney for Trustee
           Daniel B. Spitzer,            3220-610                NA         $18,076.18         $18,076.18         $18,076.18
           Special Counsel for
           Trustee
           CHRIS RATZLAFF,               3410-000                NA         $23,337.00         $23,337.00         $23,337.00
           Accountant for
           Trustee
           CHRIS RATZLAFF,               3420-000                NA            $43.24              $43.24            $43.24
           Accountant for
           Trustee
           approved commission,          3510-000                NA        $101,400.00      $101,400.00          $101,400.00
           Realtor for Trustee
           TOTAL CHAPTER 7 ADMIN. FEES AND                       NA        $695,591.75      $695,592.74          $695,592.74
           CHARGES


            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
            NONE


            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

             CLAIM         CLAIMANT            UNIFORM            CLAIMS          CLAIMS            CLAIMS         CLAIMS
            NUMBER                            TRAN. CODE       SCHEDULED        ASSERTED          ALLOWED            PAID
                 2       STATE BOARD            5800-000              $0.00         $350.70           $235.70       $235.70
                         OF
                         EQUALIZATIO
                         N
                 4       Employment             5800-000              $0.00              $0.00           $0.00         $0.00
                         Development
                         Department
                 11      FRANCHISE              5800-000              $0.00         $800.00           $800.00       $800.00
                         TAX BOARD
                         California             5800-000              $0.00              $0.00           $0.00         $0.00
                         Attorney General
                         Securities &           5800-000              $0.00              $0.00           $0.00         $0.00
                         Exchange
                         Commission
                         United States          5800-000              $0.00              $0.00           $0.00         $0.00
                         Attorney (IRS
                         Division)
           TOTAL PRIORITY UNSECURED CLAIMS                            $0.00        $1,150.70         $1,035.70     $1,035.70


            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

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             CLAIM         CLAIMANT            UNIFORM          CLAIMS          CLAIMS        CLAIMS      CLAIM
            NUMBER                            TRAN. CODE     SCHEDULED        ASSERTED      ALLOWED       S PAID
                 1       Internal Revenue      7100-000              $0.00          $0.00         $0.00     $0.00
                         Service
                 2a      STATE BOARD           7300-000              $0.00        $12.07          $0.00     $0.00
                         OF
                         EQUALIZATIO
                         N
                 3       Baker Manock &        7100-000              $0.00     $50,543.82         $0.00     $0.00
                         Jensen PC
                 6       Wild, Carter &        7100-000        $201,105.00    $250,000.00         $0.00     $0.00
                         Tipton
                 7a      Brian L. Gwartz       7100-000       $1,553,800.00   $871,183.94   $871,183.94 $871,183
                         and Cheryl A.                                                                       .94
                         Skigin Co trustees
                         of the Pendragon
                         Trus
                 8       Brian L. Gwartz       7100-000       $1,553,800.00    $50,543.82    $50,543.82   $50,543.
                                                                                                               82
                 9       Office of the         7100-000              $0.00       $325.00       $325.00    $325.00
                         United States
                         Trustee
                 11a     FRANCHISE             7300-000              $0.00       $545.04          $0.00     $0.00
                         TAX BOARD
                         Acura Financial       7100-000          $7,263.19          $0.00         $0.00     $0.00
                         Services
                         American Express      7100-000          $8,000.00          $0.00         $0.00     $0.00
                         Arthur Galindo,       7100-000              $0.00          $0.00         $0.00     $0.00
                         dba Art's Welding
                         Baorong Chen,         7100-000              $0.00          $0.00         $0.00     $0.00
                         M.D.
                         Bill Eads             7100-000              $0.00          $0.00         $0.00     $0.00
                         Bob Huddard           7100-000              $0.00          $0.00         $0.00     $0.00
                         Horse
                         Tranportation,
                         Born, Pape &          7100-000              $0.00          $0.00         $0.00     $0.00
                         Shewan
                         Bryan Garner          7100-000              $0.00          $0.00         $0.00     $0.00
                         Bryan Garner          7100-000              $0.00          $0.00         $0.00     $0.00
                         Construction &
                         Dev. Co.
                         Central Valley        7100-000              $0.00          $0.00         $0.00     $0.00
                         Concrete
                         Chery Skigin,         7100-000       $1,553,800.00         $0.00         $0.00     $0.00
                         Trustee,
                         Pendragon
                         Clarke T.             7100-000              $0.00          $0.00         $0.00     $0.00
                         Harding, M.D.
                         Coleman &             7100-000              $0.00          $0.00         $0.00     $0.00
                         Horowitt

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                         Dania Alvarenga      7100-000              $0.00    $0.00   $0.00   $0.00
                         David L. Slater,     7100-000              $0.00    $0.00   $0.00   $0.00
                         M.D.
                         David Sanchez        7100-000              $0.00    $0.00   $0.00   $0.00
                         Dinuba House         7100-000              $0.00    $0.00   $0.00   $0.00
                         Movers, Inc
                         Dodson Brothers      7100-000              $0.00    $0.00   $0.00   $0.00
                         Roofing, Inc
                         Dowling Aaron        7100-000              $0.00    $0.00   $0.00   $0.00
                         and Keeler
                         Dowling Aaron,       7100-000              $0.00    $0.00   $0.00   $0.00
                         Inc.
                         Free Market          7100-000        $323,821.00    $0.00   $0.00   $0.00
                         Medical Systems,
                         Inc.
                         Gordon Honda,        7100-000              $0.00    $0.00   $0.00   $0.00
                         M.D.
                         House Movers,        7100-000              $0.00    $0.00   $0.00   $0.00
                         Inc.
                         Jacobson, Hansen     7100-000              $0.00    $0.00   $0.00   $0.00
                         John S. Pollard,     7100-000              $0.00    $0.00   $0.00   $0.00
                         M.D.
                         Law Office of        7100-000              $0.00    $0.00   $0.00   $0.00
                         Daniel B. Spitzer
                         Lydia Garcia         7100-000              $0.00    $0.00   $0.00   $0.00
                         M & G Weilert        7100-000         $46,620.00    $0.00   $0.00   $0.00
                         Family L.P.
                         Menekshe Law         7100-000              $0.00    $0.00   $0.00   $0.00
                         Firm
                         Michelle Eads        7100-000              $0.00    $0.00   $0.00   $0.00
                         Moore Grider         7100-000              $0.00    $0.00   $0.00   $0.00
                         Osman &              7100-000              $0.00    $0.00   $0.00   $0.00
                         Associates
                         Pathology            7100-000              $0.00    $0.00   $0.00   $0.00
                         Associates
                         Patricia Tam Ellis   7100-000              $0.00    $0.00   $0.00   $0.00
                         Paul H. Atmajian     7100-000              $0.00    $0.00   $0.00   $0.00
                         Pendragon Trust      7100-000       $1,553,800.00   $0.00   $0.00   $0.00
                         Pyle, Sims,          7100-000              $0.00    $0.00   $0.00   $0.00
                         Duncan &
                         Stevenson, APC
                         Robert M.            7100-000              $0.00    $0.00   $0.00   $0.00
                         Futoran, M.D.
                         Sierra Pathology     7100-000         $70,656.00    $0.00   $0.00   $0.00
                         Building, LLC
                         Small Business       7100-000              $0.00    $0.00   $0.00   $0.00
                         Administration
                         Stephen M.           7100-000              $0.00    $0.00   $0.00   $0.00

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                         Avalos, M.D.
                         Wild, Carter &      7100-000              $0.00           $0.00         $0.00     $0.00
                         Tipton
                         William C. Pitts,   7100-000              $0.00           $0.00         $0.00     $0.00
                         M.D.
           TOTAL GENERAL UNSECURED CLAIMS                   $6,872,665.19   $1,223,153.69   $922,052.76 $922,052
                                                                                                             .76




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                                                                                                         FORM 1                                                                                                             Doc 680
                                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                            Page No:    1              Exhibit 8
                                                                                             ASSET CASES

  Case No.:                      13-16155-B-7                                                                                                             Trustee Name:                               James E. Salven
  Case Name:                     WEILERT, MICHAEL AND DE MONTREMARE, GENEVIEVE M.                                                                         Date Filed (f) or Converted (c):            09/13/2013 (f)
  For the Period Ending:         12/21/2018                                                                                                               §341(a) Meeting Date:                       10/24/2013
                                                                                                                                                          Claims Bar Date:                            01/30/2014

                                    1                                             2                              3                                4                        5                                            6

                           Asset Description                                   Petition/                 Estimated Net Value                   Property               Sales/Funds               Asset Fully Administered (FA)/
                            (Scheduled and                                   Unscheduled                (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                       Unscheduled (u) Property)                                Value                          Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                                       Less Liens, Exemptions,
                                                                                                          and Other Costs)

   Ref. #
  1       8404 N. Marion Ave Clovis, CA                                           $429,000.00                                    $0.00           OA                             $0.00                                            FA
  Asset Notes:
                   debtors' motion to abandon was denied without prejudice. property is, in estate's opinion, over encumbered
  2       Cash on hand                                                                  $0.00                                    $0.00                                          $0.00                                            FA
  3       Checking (-87170                                                               $0.00                                   $0.00                                          $0.00                                            FA
  4       Preferred checking (-5839)                                                     $0.00                                   $0.00                                          $0.00                                            FA
  5       household Goods & Furnishings                                               $5,000.00                                  $0.00                                          $0.00                                            FA
  6       Art, Books, etc.                                                            $1,500.00                            $1,500.00                                            $0.00                                            FA
  7       Clothing                                                                    $1,000.00                                  $0.00                                          $0.00                                            FA
  8       Jewelry                                                                     $1,000.00                                  $0.00                                          $0.00                                            FA
  9       Term Policies                                                                  $0.00                                   $0.00                                          $0.00                                            FA
  10      Sporting Equipment                                                          $2,000.00                            $2,000.00                                            $0.00                                            FA
  11      whole Life Insurance                                                         $500.00                                   $0.00                                          $0.00                                            FA
  12      Vanguard-IRA(W)                                                          $10,600.00                                    $0.00                                          $0.00                                            FA
  13      Charles Schwab IRA(W)                                                       $6,000.00                                  $0.00                                          $0.00                                            FA
  14      Charles Schwab IRA(x3)(H)                                                $89,355.00                                    $0.00                                          $0.00                                            FA
  15      Millenium trust Co.IRA(H)                                                $35,000.00                                    $0.00                                          $0.00                                            FA
  16      Pathology associates 401(k)(H)                                          $538,407.00                             $28,407.00                                            $0.00                                            FA
  Asset Notes:       settlement of issues pending
  17      Belle Reve, LLC-100%interest                                                $6,300.00                                  $0.00                                          $0.00                                            FA
  Asset Notes:       judgment lien of Peddraggon
  18      M & G wellert Family Limited Partnership                                    Unknown                                    $0.00                                          $0.00                                            FA
  Asset Notes:       lien in question; case merged into individual
  19      Office equipment and furnishings                                            $1,600.00                                  $0.00                                          $0.00                                            FA
  Asset Notes:       judgment lien of Peddraggon
  20      Lydla Garcia (uncollectible)                                                Unknown                                    $0.00                                          $0.00                                            FA
  21      Growing crops belong to bella reve, LLC                                        $0.00                                   $0.00                                          $0.00                                            FA
  Asset Notes:       judgment lien of Peddraggon
  22      Personal loan to james and lorraine paradinovich                        $102,000.00                              $2,001.00                                            $0.00                                            FA
          (uncollectable/in dafault)
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                                                                                                FORM 1                                                                                                            Doc 680
                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                     Page No:    2              Exhibit 8
                                                                                          ASSET CASES

  Case No.:                     13-16155-B-7                                                                                                    Trustee Name:                               James E. Salven
  Case Name:                    WEILERT, MICHAEL AND DE MONTREMARE, GENEVIEVE M.                                                                Date Filed (f) or Converted (c):            09/13/2013 (f)
  For the Period Ending:        12/21/2018                                                                                                      §341(a) Meeting Date:                       10/24/2013
                                                                                                                                                Claims Bar Date:                            01/30/2014

                                    1                                        2                        3                                 4                        5                                            6

                            Asset Description                              Petition/           Estimated Net Value                   Property               Sales/Funds               Asset Fully Administered (FA)/
                             (Scheduled and                              Unscheduled          (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                        Unscheduled (u) Property)                           Value                    Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                             Less Liens, Exemptions,
                                                                                                and Other Costs)

  Asset Notes:       value in question
   Ref. #
  23      Endless Pools, Inc.-deposti                                        $21,000.00                        $18,900.00                                       $18,900.00                                             FA
  Asset Notes:       contract called for 10% cancellation fee
  24     Michael Wallert, M.D.,. Inc.- Wages Owed                            $11,725.00                        $11,725.00                                             $0.00                                            FA
         (Priority Amount)
  Asset Notes:      claim filed
  25       Atlas Movers-Deposit                                              $18,900.00                        $18,900.00                                       $18,900.00                                             FA
  26     michael wellert, M.D., Inc.-non-Priority Wage                      $156,480.00                       $156,480.00                                             $0.00                                            FA
         Claims, Loans, rents
  Asset Notes:    claim filed
  27       American express Points -32,000                                        $325.00                         $325.00                                             $0.00                                            FA
  28     the Madonna Della Pieta Trust is a revocable                               $0.00                              $1.00                                          $0.00                                            FA
         estate planning trust holding title to debotors
         residence
  Asset Notes:      value in question, given pendraggon judgment
  29     Claim against trustees of pendragon Trust for                     $5,200,000.00                        $2,001.00                                             $0.00                                            FA
         Contractual interference.
  Asset Notes:    value in question-not deemed worth pursuit
  30       Medical License-no Value                                                 $0.00                              $0.00                                          $0.00                                            FA
  31       1995 Misubshi 3000 GT                                             $12,000.00                                $0.00                                          $0.00                                            FA
  Asset Notes:       subject to pendragon and Wild Carter liens
  32       1978 Cadiliac Eldorado                                                $3,500.00                        $600.00                                             $0.00                                            FA
  33       Tax Refund                                              (u)              $0.00                       $2,001.00                                             $0.00                                            FA
  Asset Notes:       none anticipated
  34       Three First Class tickets to England(purchased          (u)       $15,813.00                        $15,813.00                                             $0.00                                            FA
           08/13)
  Asset Notes:       purchased pre petition and not disclosed


                    not worth pursuit
  35       9049 E. Shaw Ave., Clovis                                        $310,000.00                       $208,761.00                                      $850,000.00                                             FA
Filed 02/04/19                                                                                    Case 13-16155
                                                                                                     FORM 1                                                                                                            Doc 680
                                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                         Page No:    3              Exhibit 8
                                                                                           ASSET CASES

  Case No.:                       13-16155-B-7                                                                                                       Trustee Name:                               James E. Salven
  Case Name:                      WEILERT, MICHAEL AND DE MONTREMARE, GENEVIEVE M.                                                                   Date Filed (f) or Converted (c):            09/13/2013 (f)
  For the Period Ending:          12/21/2018                                                                                                         §341(a) Meeting Date:                       10/24/2013
                                                                                                                                                     Claims Bar Date:                            01/30/2014

                                     1                                            2                        3                                 4                        5                                            6

                           Asset Description                                 Petition/              Estimated Net Value                   Property               Sales/Funds               Asset Fully Administered (FA)/
                            (Scheduled and                                 Unscheduled             (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                       Unscheduled (u) Property)                              Value                       Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                                  Less Liens, Exemptions,
                                                                                                     and Other Costs)

  36     332 Falcon Crest Dr., Arroyo Grande, CA (rents                           $746,000.00                      $425,000.00                                      $840,000.00                                             FA
         collected by property manager)
  Asset Notes:     loan # 228536678
  37      Wells Fargo checking (DIP)                                                     $0.00                              $0.00                                          $0.00                                            FA
  38      Schwab Brokerage Account                                                       $2.00                              $2.00                                          $0.00                                            FA
  39      Michael Weilert, MD Inc - 100% shares of                                $325,000.00                               $0.00                                   $496,561.42                                             FA
          medical corp which owns partnership interest in
          Pathology Associates, vehicles, laser
  Asset Notes:      judgment lien of Peddraggon-awaiting Hawkins estate closing


                    see asset 16
  40     Sierra Pathology Building, LLC - 1/9th                                          $0.00                     $220,000.00                                      $220,000.00                                             FA
         partjership interest (negative casdh flow)
  Asset Notes:      sale motion approved
  41     Free Market Medical Systems LLC - 6% interest                                   $0.00                              $0.00                                          $0.00                                            FA
         in LLC
  Asset Notes:    no value worth pursuit-judgment lien of Peddraggon
  42     Accrued Rents - Shaw Avenue (Amy Cook,                                    $21,000.00                       $21,000.00                                             $0.00                                            FA
         tenant
  Asset Notes:    not worth pursuit
  43      Michael Weilert, MD - advance                                            $40,000.00                       $40,000.00                                             $0.00                                            FA
  Asset Notes:      claim filed
  44      Michael Weilert, MD - Loan                                                  $6,620.00                      $6,620.00                                             $0.00                                            FA
  45     Claims against Trustees of Pendragon Trust for                       $5,200,000.00                          $2,001.00                                             $0.00                                            FA
         Contractual Interference
  Asset Notes:    of questionable value-not worth pursuit
  46      Shaw Ave. rents                                                                $0.00                      $10,000.00                                        $2,000.00                                             FA
  47      Arroyo Grande- rents                                    (u)                    $0.00                      $25,000.00                                       $29,517.81                                             FA
  48      Contractor deposit                                      (u)                 $8,000.00                      $8,000.00                                             $0.00                                            FA
  Asset Notes:      not worth pursuit
  49      boe refund                                                                     $0.00                         $115.00                                             $0.00                                            FA
  Asset Notes:      recd check from boe ?????
Filed 02/04/19                                                                                          Case 13-16155
                                                                                                           FORM 1                                                                                                                   Doc 680
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                  Page No:    4              Exhibit 8
                                                                                               ASSET CASES

  Case No.:                     13-16155-B-7                                                                                                                   Trustee Name:                                  James E. Salven
  Case Name:                    WEILERT, MICHAEL AND DE MONTREMARE, GENEVIEVE M.                                                                               Date Filed (f) or Converted (c):               09/13/2013 (f)
  For the Period Ending:        12/21/2018                                                                                                                     §341(a) Meeting Date:                          10/24/2013
                                                                                                                                                               Claims Bar Date:                               01/30/2014

                                    1                                                2                             3                                   4                          5                                             6

                           Asset Description                                       Petition/                Estimated Net Value                   Property                    Sales/Funds               Asset Fully Administered (FA)/
                            (Scheduled and                                       Unscheduled               (Value Determined by                   Abandoned                   Received by              Gross Value of Remaining Assets
                       Unscheduled (u) Property)                                    Value                         Trustee,                  OA =§ 554(a) abandon.              the Estate
                                                                                                          Less Liens, Exemptions,
                                                                                                             and Other Costs)

  50      Options Express IRA                                                            $4,984.00                                  $0.00                                              $0.00                                             FA
  51      Malpractice Claim against former counsel Wild                (u)                  $0.00                          $400,000.00                                           $400,000.00                                             FA
          Carter
  Asset Notes:       involves all assets/claims involving Pendaragon
                     settled at mediation on 02/20/18
  52     Wire tsf to Ingrid Ericsdotter(in Sweden) to                  (u)                  $0.00                                   $0.00                                              $0.00                                             FA
         investigate
  Asset Notes:      investigated and not deemed worth pursuit
  53      Compromise Settlement                                        (u)                  $0.00                           $25,850.00                                            $25,850.00                                             FA


  TOTALS (Excluding unknown value)                                                                                                                                                                          Gross Value of Remaining Assets
                                                                                  $13,330,611.00                         $1,653,003.00                                         $2,901,729.23                                        $0.00




       Major Activities affecting case closing:
        06/30/2018      State filed claim for 12/17 and 12/18 for family psp lp tax; however, lp was cancelled 12/15


                        working with State to withdraw or will need to object.
        06/01/2018      need fee apps and final tax return
        05/31/2018      settlement approved
                        Special Counsel Fees approved.
                        all other issues resolved.
                        when funds received case will be ready to close
        05/07/2018      lawsuit settled at mediation
                        waiting on compromise approval then close
        01/23/2018      tied to case 13-16156 by the Court's substantially consolidating the two cases.
                        Main Weilert case is involved in protracted legal malpractice case. Another mediation round is being set for March 2018 and we believe will settle.
                        their last offer was $250k and ours was 1.4 million
        12/05/2017      Appeal to State Supreme ct filed
        09/24/2017      lost, in State court, the issue of who holds privilige. effect on underlying case being evaluated
Filed 02/04/19                                                                                        Case 13-16155
                                                                                                         FORM 1                                                                                                    Doc 680
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                 Page No:    5              Exhibit 8
                                                                                               ASSET CASES

  Case No.:                  13-16155-B-7                                                                                                        Trustee Name:                               James E. Salven
  Case Name:                 WEILERT, MICHAEL AND DE MONTREMARE, GENEVIEVE M.                                                                    Date Filed (f) or Converted (c):            09/13/2013 (f)
  For the Period Ending:     12/21/2018                                                                                                          §341(a) Meeting Date:                       10/24/2013
                                                                                                                                                 Claims Bar Date:                            01/30/2014

                                 1                                                2                            3                         4                        5                                            6

                         Asset Description                                      Petition/               Estimated Net Value           Property               Sales/Funds               Asset Fully Administered (FA)/
                          (Scheduled and                                      Unscheduled              (Value Determined by           Abandoned              Received by              Gross Value of Remaining Assets
                     Unscheduled (u) Property)                                   Value                        Trustee,          OA =§ 554(a) abandon.         the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)

       07/18/2017     called Dr. Weilert and advised him I had talked with his accountant.
                      Also, asked when would sent money Judge told him to pay
                      He said he would ask accountant what his options were.
       07/13/2017     Dr Weilert ordered to pay balance of $25,800
                      Sanctions granted-hearing to be held
                      only other issue is wild carter litigation
       05/24/2017     Dr. Weilert phone 908-5173
       12/31/2016     attempts by Wild Carter to disqualify special counsel denied in 11/16


                      litigation being pursued
       09/30/2016     pending litigation over malpractice claim-State Court


                      pending motions by wild carter to disqualify special counsel
       06/30/2016     2nd quarterly review 2016-only remaining issue is malpractice claim against former counsel
       05/27/2016     weilert v wild carter litigation proceeding(slowly)
                      defendant to move to disqual special counsel
       04/10/2016     awaiting funds from Inc. case and then will move for interim distribution
       02/29/2016     L. A. mediation a complete waste of time
       02/15/2016     Dr. Weilert discharge denied
                      Mrs. Weilert dismissed from discharge denial suit
       02/15/2016     need motion to pay State tax on family psp
       09/30/2015     airline tickets not worth pursuit. Remaining issues
                      *settlement funds(25k) not paid;
                      *issues with funds(8k) to contractor;
                      *funds pending(500k+/-) from Inc.; and,
                      *malpractice case filed versus Wild Carter
       12/22/2014     remaining issues
                      *airline tickets-asked estate counsel to assist
                      *contractor deposit(cashed in by debtor)-asked estate atty to demand turnover
                      *objection to exempt-circulating settlement
                      *MD inc wage claim-awaiting admin of Hawkins estate
                      *MD inc losn claim-awaiting admin of Hawkins estate
                      *Sierra Pathology building sale approved-awaiting funds
Filed 02/04/19                                                                                          Case 13-16155
                                                                                                           FORM 1                                                                                                                  Doc 680
                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                  Page No:    6              Exhibit 8
                                                                                              ASSET CASES

  Case No.:                    13-16155-B-7                                                                                                                     Trustee Name:                                James E. Salven
  Case Name:                   WEILERT, MICHAEL AND DE MONTREMARE, GENEVIEVE M.                                                                                 Date Filed (f) or Converted (c):             09/13/2013 (f)
  For the Period Ending:       12/21/2018                                                                                                                       §341(a) Meeting Date:                        10/24/2013
                                                                                                                                                                Claims Bar Date:                             01/30/2014

                                   1                                                2                              3                                   4                          5                                            6

                          Asset Description                                      Petition/                 Estimated Net Value                     Property                  Sales/Funds               Asset Fully Administered (FA)/
                           (Scheduled and                                      Unscheduled                (Value Determined by                     Abandoned                 Received by              Gross Value of Remaining Assets
                      Unscheduled (u) Property)                                   Value                          Trustee,                    OA =§ 554(a) abandon.            the Estate
                                                                                                         Less Liens, Exemptions,
                                                                                                            and Other Costs)

        09/30/2014     remaining issues are sale of interest in building(Judge has asked for SPECIFIC tax result); attempts to get unused airline tickets refunded; and, objection to exemptions
        07/07/2014     BofA trustee hot line 1-855-235-6145
        10/31/2013     wage claim in corp case 13-16062; invest refundability of deposits; n/r corp; FLP; corp?; tax refunds


   Initial Projected Date Of Final Report (TFR):          12/31/2016                            Current Projected Date Of Final Report (TFR):              12/31/2018                 /s/ JAMES E. SALVEN
                                                                                                                                                                                      JAMES E. SALVEN
                                                                                                                                                             Page No: 1
Filed 02/04/19                                                             Case 13-16155                                                                                 Doc 680
                                                                           FORM  2                                                                       Exhibit 9
                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                           13-16155-B-7                                                                  Trustee Name:                          James E. Salven
 Case Name:                         WEILERT, MICHAEL AND DE MONTREMARE,                                          Bank Name:                              Independent Bank
                                    GENEVIEVE M.
 Primary Taxpayer ID #:             **-***1651                                                                    Checking Acct #:                       ******6155
 Co-Debtor Taxpayer ID #:           **-***1652                                                                    Account Title:
 For Period Beginning:              9/13/2013                                                                     Blanket bond (per case limit):         $1,000,000.00
 For Period Ending:                 12/21/2018                                                                    Separate bond (if applicable):

       1                 2                       3                                       4                                           5               6                    7

   Transaction        Check /              Paid to/                     Description of Transaction                Uniform          Deposit      Disbursement         Balance
      Date             Ref. #           Received From                                                            Tran Code           $               $


01/24/2014             (25)     ATLAS VAN LINES               Debtors' deposit to Atlas Van Lines for            1129-000          $18,900.00                          $18,900.00
                                INTERNATIONAL                 moving expenses. Made prior to filing
                                                              bankruptcy.
01/31/2014                      Integrity Bank                Bank Service Fee                                   2600-000                                $1.96         $18,898.04
02/27/2014                      JAMES SALVEN on               transfer of funds from Weilert Family              9999-000          $15,152.01                          $34,050.05
                                behalf of M&G WEILERT         Limited Psp-cases consolidated
02/28/2014                      Integrity Bank                Bank Service Fee                                   2600-000                            $27.53            $34,022.52
03/17/2014                      FIDELITY NATIONAL             Court approved sale of RP 9049 E. Shaw                 *          $672,959.62                           $706,982.14
                                TITLE CO.                     Ave.
                       {35}                                   Gross Sales price               $850,000.00        1110-000                                             $706,982.14
                                                              approved commission               $(51,000.00)     3510-000                                             $706,982.14
                                                              first deed of trust plus        $(117,951.72)      4110-000                                             $706,982.14
                                                              costs
                                                              real estate taxes                  $(3,423.81)     4700-000                                             $706,982.14
                                                              title and escrow fees              $(4,488.90)     2500-000                                             $706,982.14
                                                              misc closing costs                     $(175.95)   2500-000                                             $706,982.14
03/18/2014                      Transfer From:                in wrong account                                   9999-000             $899.40                         $707,881.54
                                #*******6156
03/31/2014             (23)     EPI DIRECT, INC.              refund pool deposit                                1129-000          $18,900.00                         $726,781.54
03/31/2014                      Integrity Bank                Bank Service Fee                                   2600-000                           $474.17           $726,307.37
04/17/2014                      POPE                          Rents                                                  *              $1,809.40                         $728,116.77
                       {47}                                   Rent reduction due to               $2,395.00      1222-000                                             $728,116.77
                                                              house showings while on
                                                              the market.
                                                              Pope Property Mgt. fee                 $(191.60)   2420-000                                             $728,116.77
                                                              White Flag Pest Control                 $(52.00)   2420-000                                             $728,116.77
                                                              Garcia Landscaping-irrig.              $(342.00)   2420-000                                             $728,116.77
                                                              repair
04/30/2014                      Integrity Bank                Bank Service Fee                                   2600-000                          $1,132.67          $726,984.10
05/13/2014                      POPE MANAGEMENT               Rent reduction due to house showings                   *              $1,993.40                         $728,977.50
                                                              while on the market.
                       {47}                                   Rent                               $2,395.00       1222-000                                             $728,977.50
                                                              Garcia Landscaping                     $(210.00)   2420-000                                             $728,977.50
                                                              Pope Property Mgt.                     $(191.60)   2420-000                                             $728,977.50
05/21/2014            5001      Fidelity National Title Co.   HOA docs                                           2500-000                           $510.00           $728,467.50
05/31/2014                      Integrity Bank                Bank Service Fee                                   2600-000                          $1,173.69          $727,293.81
06/09/2014                      POPE MANAGEMENT               Rent reduction due to house showings                   *              $1,941.40                         $729,235.21
                                                              while on the market
                       {47}                                   Rent                               $2,395.00       1222-000                                             $729,235.21
                                                              Pope Mgmt.                             $(191.60)   2420-000                                             $729,235.21
                                                              Garcia Landscaping                     $(210.00)   2420-000                                             $729,235.21
                                                              White Flag pest control                 $(52.00)   2420-000                                             $729,235.21
06/30/2014                      Integrity Bank                Bank Service Fee                                   2600-000                          $1,136.75          $728,098.46

                                                                                                            SUBTOTALS           $732,555.23        $4,456.77
                                                                                                                                                               Page No: 2
Filed 02/04/19                                                             Case 13-16155                                                                                   Doc 680
                                                                           FORM  2                                                                         Exhibit 9
                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                           13-16155-B-7                                                                   Trustee Name:                           James E. Salven
 Case Name:                         WEILERT, MICHAEL AND DE MONTREMARE,                                           Bank Name:                               Independent Bank
                                    GENEVIEVE M.
 Primary Taxpayer ID #:             **-***1651                                                                     Checking Acct #:                        ******6155
 Co-Debtor Taxpayer ID #:           **-***1652                                                                     Account Title:
 For Period Beginning:              9/13/2013                                                                      Blanket bond (per case limit):          $1,000,000.00
 For Period Ending:                 12/21/2018                                                                     Separate bond (if applicable):

       1                 2                       3                                      4                                             5                6                    7

   Transaction        Check /             Paid to/                      Description of Transaction                 Uniform          Deposit      Disbursement           Balance
      Date             Ref. #          Received From                                                              Tran Code           $               $


07/07/2014                      POPE MANAGEMENT               Rent reduction due to house showings                    *              $1,164.40                          $729,262.86
                                                              while on the market
                       {47}                                   Rent                               $2,395.00        1222-000                                              $729,262.86
                                                              Pope Property Mgt. fees                $(191.60)    2420-750                                              $729,262.86
                                                              Pest Control-$52.00                      $(52.00)   2420-000                                              $729,262.86
                                                              3 months landscaping/irrig.            $(987.00)    2420-000                                              $729,262.86
                                                              repairs.
07/24/2014            5002      FIDELITY NATIONAL             Deposit from D. Stream for Falcon Crest             1110-000       ($30,000.00)                           $699,262.86
                                TITLE CO.                     Dr.
07/26/2014             (36)     STREAM SURVIVOR'S             deposit for Falcon Crest Dr.                        1110-000          $30,000.00                          $729,262.86
                                TRUST
07/31/2014                      Integrity Bank                Bank Service Fee                                    2600-000                           $1,170.96          $728,091.90
08/07/2014                      POPE MANAGEMENT               Rent rent reduction due to house                        *                $452.01                          $728,543.91
                                                              showings while on the market.
                       {47}                                   Rent                                  $1,004.35     1222-000                                              $728,543.91
                                                              Pope Property Mgt. fees                  $(80.34)   2420-000                                              $728,543.91
                                                              Garcia Landscaping                     $(420.00)    2420-000                                              $728,543.91
                                                              White Flag Pest control                  $(52.00)   2420-000                                              $728,543.91
08/31/2014                      Integrity Bank                Bank Service Fee                                    2600-000                           $1,174.83          $727,369.08
09/22/2014                      FIDELITY NATIONAL             Sale proceeds for Falcon Crest Dr.,                     *          $366,938.35                           $1,094,307.43
                                TITLE CO.                     Arroyo Grande
                       {36}                                   Gross Sales Price                $840,000.00        1110-000                                             $1,094,307.43
                                                              pay first deed of trust            $(413,065.49)    4110-000                                             $1,094,307.43
                                                              approved commission                 $(50,400.00)    3510-000                                             $1,094,307.43
                                                              title and escrow fees                $(4,204.85)    2500-000                                             $1,094,307.43
                                                              homeowner's association              $(2,645.00)    7100-000                                             $1,094,307.43
                                                              fees
                                                              real property taxes                  $(2,057.31)    4700-000                                             $1,094,307.43
                                                              misc closing costs                     $(689.00)    2500-000                                             $1,094,307.43
09/30/2014                      Integrity Bank                Bank Service Fee                                    2600-000                           $1,249.90         $1,093,057.53
10/31/2014                      Integrity Bank                Bank Service Fee                                    2600-000                           $1,763.03         $1,091,294.50
11/04/2014             (47)     POPE MANAGEMENT               Rents-final distribution from property              1222-000           $1,468.86                         $1,092,763.36
                                                              mgt. co. for rental account.
11/30/2014                      Integrity Bank                Bank Service Fee                                    2600-000                           $1,705.32         $1,091,058.04
12/06/2014             (40)     SIERRA PATHOLOGY              Sale proceeds                                       1110-000          $10,000.00                         $1,101,058.04
                                BUILDING, LLC
12/30/2014             (40)     SIERRA PATHOLOGY              Sale proceeds                                       1110-000       $210,000.00                           $1,311,058.04
                                BLDG., LLC
12/31/2014                      Integrity Bank                Bank Service Fee                                    2600-000                           $1,768.65         $1,309,289.39
01/31/2015                      Integrity Bank                Bank Service Fee                                    2600-000                           $2,100.87         $1,307,188.52
02/28/2015                      Integrity Bank                Bank Service Fee                                    2600-000                           $1,904.37         $1,305,284.15
03/18/2015            5003      International Sureties, LTD   Bond Payment                                        2300-000                            $970.70          $1,304,313.45


                                                                                                             SUBTOTALS           $590,023.62        $13,808.63
                                                                                                                                                           Page No: 3
Filed 02/04/19                                                            Case 13-16155                                                                                Doc 680
                                                                          FORM  2                                                                      Exhibit 9
                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                           13-16155-B-7                                                              Trustee Name:                            James E. Salven
 Case Name:                         WEILERT, MICHAEL AND DE MONTREMARE,                                      Bank Name:                                Independent Bank
                                    GENEVIEVE M.
 Primary Taxpayer ID #:             **-***1651                                                                Checking Acct #:                         ******6155
 Co-Debtor Taxpayer ID #:           **-***1652                                                                Account Title:
 For Period Beginning:              9/13/2013                                                                 Blanket bond (per case limit):           $1,000,000.00
 For Period Ending:                 12/21/2018                                                                Separate bond (if applicable):

       1                 2                       3                                  4                                            5                 6                    7

   Transaction        Check /              Paid to/                     Description of Transaction            Uniform          Deposit     Disbursement             Balance
      Date             Ref. #           Received From                                                        Tran Code           $              $


03/31/2015                      Integrity Bank                Bank Service Fee                               2600-000                            $2,104.98         $1,302,208.47
04/30/2015                      Integrity Bank                Bank Service Fee                               2600-000                            $2,032.62         $1,300,175.85
05/31/2015                      Integrity Bank                Bank Service Fee                               2600-000                            $2,097.10         $1,298,078.75
06/12/2015            5004      Pathology Building, LLC       payment per sales agreement order              2420-003                            $4,416.00         $1,293,662.75
                                                              entered 12/09/14(docket 223). Member
                                                              costs owing
06/16/2015            5004      VOID: Pathology Building,     void                                           2420-003                           ($4,416.00)        $1,298,078.75
                                LLC
06/16/2015            5005      Sierra Pathology Building,    payment per sales agreement order              2420-000                            $4,416.00         $1,293,662.75
                                LLC                           entered 12/09/14(docket 223). Member
                                                              costs owing
06/30/2015                      Integrity Bank                Bank Service Fee                               2600-000                            $2,024.11         $1,291,638.64
07/17/2015            5006      PETER L. FEAR                 Claim #: ; Distribution Dividend: 100.00;      3220-000                            $2,794.05         $1,288,844.59
07/17/2015            5007      PETER L. FEAR                 Claim #: ; Distribution Dividend: 100.00;      3210-000                           $98,498.00         $1,190,346.59
07/17/2015            5008      STATE BOARD OF                Claim #: 2; Distribution Dividend:             5800-000                             $350.70          $1,189,995.89
                                EQUALIZATION                  100.00;
07/17/2015            5009      FRANCHISE TAX                  Claim #: 11; Distribution Dividend:           5800-000                             $800.00          $1,189,195.89
                                BOARD                         100.00;
07/17/2015            5010      Brian L. Gwartz and           Claim #: 7; Distribution Dividend: 97.34;      7100-000                          $848,039.82          $341,156.07
                                Cheryl A. Skigin Co
07/17/2015            5011      Brian L. Gwartz               Claim #: 8; Distribution Dividend: 97.34;      7100-000                           $49,201.06          $291,955.01
07/17/2015            5012      Office of the United States   Claim #: 9; Distribution Dividend: 97.34;      7100-000                             $316.37           $291,638.64
                                Trustee
07/31/2015                      Integrity Bank                Bank Service Fee                               2600-000                            $2,020.04          $289,618.60
08/31/2015                      Integrity Bank                Bank Service Fee                               2600-000                            $1,914.92          $287,703.68
09/30/2015                      Integrity Bank                Bank Service Fee                               2600-000                            $1,242.70          $286,460.98
10/27/2015                      State of California           refund                                         5800-000                            ($115.00)          $286,575.98
10/31/2015                      Integrity Bank                Bank Service Fee                               2600-000                             $462.06           $286,113.92
11/30/2015                      Integrity Bank                Bank Service Fee                               2600-000                             $446.59           $285,667.33
12/02/2015            5013      California Secretary of       fee to amend and close out Family              2420-000                              $30.00           $285,637.33
                                State                         Limited partnership
12/31/2015                      Integrity Bank                Bank Service Fee                               2600-000                             $460.75           $285,176.58
01/12/2016            5014      International Sureties, LTD   Bond Payment                                   2300-000                             $203.55           $284,973.03
01/31/2016                      Integrity Bank                Bank Service Fee                               2600-000                             $459.78           $284,513.25
02/29/2016                      Integrity Bank                Bank Service Fee                               2600-000                             $429.29           $284,083.96
03/31/2016                      Integrity Bank                Bank Service Fee                               2600-000                             $458.21           $283,625.75
04/27/2016             (39)     ROBERT A. HAWKINS             Litigation settlement-money from               1149-000       $496,561.42                             $780,187.17
                                                              Hawkins case 13-16062 Weilert MD, inc.
                                                              closing of corp case remaining funds sent,
                                                              per final report approved by USTO and
                                                              court, to individual case


                                                                                                           SUBTOTALS        $496,561.42   $1,020,687.70
                                                                                                                                                     Page No: 4
Filed 02/04/19                                                            Case 13-16155                                                                          Doc 680
                                                                          FORM  2                                                                Exhibit 9
                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                           13-16155-B-7                                                        Trustee Name:                            James E. Salven
 Case Name:                         WEILERT, MICHAEL AND DE MONTREMARE,                                Bank Name:                                Independent Bank
                                    GENEVIEVE M.
 Primary Taxpayer ID #:             **-***1651                                                          Checking Acct #:                         ******6155
 Co-Debtor Taxpayer ID #:           **-***1652                                                          Account Title:
 For Period Beginning:              9/13/2013                                                           Blanket bond (per case limit):           $1,000,000.00
 For Period Ending:                 12/21/2018                                                          Separate bond (if applicable):

       1                 2                       3                                    4                                    5                 6                    7

   Transaction        Check /             Paid to/                      Description of Transaction      Uniform          Deposit      Disbursement           Balance
      Date             Ref. #          Received From                                                   Tran Code           $               $


04/30/2016                      Integrity Bank                Bank Service Fee                         2600-000                             $442.72           $779,744.45
05/31/2016                      Integrity Bank                Bank Service Fee                         2600-000                            $1,231.84          $778,512.61
06/30/2016                      Integrity Bank                Bank Service Fee                         2600-000                            $1,215.18          $777,297.43
07/31/2016                      Integrity Bank                Bank Service Fee                         2600-000                            $1,253.73          $776,043.70
08/31/2016                      Integrity Bank                Bank Service Fee                         2600-000                            $1,251.70          $774,792.00
09/30/2016                      Integrity Bank                Bank Service Fee                         2600-000                            $1,209.37          $773,582.63
10/31/2016                      Integrity Bank                Bank Service Fee                         2600-000                            $1,247.73          $772,334.90
11/30/2016                      Integrity Bank                Bank Service Fee                         2600-000                            $1,205.54          $771,129.36
12/23/2016            5015      PETER L. FEAR                 approved docket 545                      3210-000                           $30,136.00          $740,993.36
12/23/2016            5016      PETER L. FEAR                 approved docket 545                      3220-000                            $1,294.38          $739,698.98
12/23/2016            5017      Brian L. Gwartz and           distribution approved docket 546         4120-003                          $490,000.00          $249,698.98
                                Cheryl A. Skigin Co           as against secured claim
12/23/2016            5017      VOID: Brian L. Gwartz                                                  4120-003                       ($490,000.00)           $739,698.98
                                and Cheryl A. Skigin Co
12/23/2016            5018      Brian L. Gwartz and           distribution approved docket 546         4120-000                          $490,000.00          $249,698.98
                                Cheryl A. Skigin Co           as against secured claim
12/31/2016                      Integrity Bank                Bank Service Fee                         2600-000                            $1,238.88          $248,460.10
01/06/2017            5019      International Sureties, LTD   2017 Bond premium                        2300-000                             $122.46           $248,337.64
01/31/2017                      Integrity Bank                Bank Service Fee                         2600-000                             $451.61           $247,886.03
02/28/2017                      Integrity Bank                Bank Service Fee                         2600-000                             $361.13           $247,524.90
03/31/2017                      Integrity Bank                Bank Service Fee                         2600-000                             $399.24           $247,125.66
04/30/2017                      Integrity Bank                Bank Service Fee                         2600-000                             $385.74           $246,739.92
05/03/2017             (53)     CHARLES SCHWAB for            Compromise(prf/frd tsf) Settlement       1249-000          $16,207.95                           $262,947.87
                                WEILERT                       Proceeds
05/31/2017                      Integrity Bank                Bank Service Fee                         2600-000                             $385.18           $262,562.69
06/30/2017                      Integrity Bank                Bank Service Fee                         2600-000                             $377.46           $262,185.23
07/31/2017                      Integrity Bank                Bank Service Fee                         2600-000                             $389.48           $261,795.75
08/22/2017             (53)     MICHAEL WEILERT               Compromise(prf/frd tsf) Settlement       1249-000           $9,642.05                           $271,437.80
                                                              Proceeds
08/31/2017                      Integrity Bank                Bank Service Fee                         2600-000                             $390.29           $271,047.51
09/30/2017                      Integrity Bank                Bank Service Fee                         2600-000                             $389.66           $270,657.85
10/31/2017                      Integrity Bank                Bank Service Fee                         2600-000                             $402.07           $270,255.78
11/30/2017                      Integrity Bank                Bank Service Fee                         2600-000                             $388.53           $269,867.25
12/08/2017            5020      FRANCHISE TAX                 Michael Weilert -2014                    2820-000                             $251.38           $269,615.87
                                BOARD                         2152466442
                                                              approved docket 622
12/08/2017            5021      FRANCHISE TAX                 Genevieve Montremare-2014                2820-000                             $251.38           $269,364.49
                                BOARD                         2152466443
                                                              approved docket 622
12/08/2017            5022      FRANCHISE TAX                 M & G Weilert Family, L. P.              2820-000                            $4,699.00          $264,665.49
                                BOARD                         approved docket 622
                                                                                                     SUBTOTALS           $25,850.00      $541,371.68
                                                                                                                                                          Page No: 5
Filed 02/04/19                                                             Case 13-16155                                                                              Doc 680
                                                                           FORM  2                                                                    Exhibit 9
                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                           13-16155-B-7                                                             Trustee Name:                            James E. Salven
 Case Name:                         WEILERT, MICHAEL AND DE MONTREMARE,                                     Bank Name:                                Independent Bank
                                    GENEVIEVE M.
 Primary Taxpayer ID #:             **-***1651                                                               Checking Acct #:                         ******6155
 Co-Debtor Taxpayer ID #:           **-***1652                                                               Account Title:
 For Period Beginning:              9/13/2013                                                                Blanket bond (per case limit):           $1,000,000.00
 For Period Ending:                 12/21/2018                                                               Separate bond (if applicable):

       1                 2                       3                                    4                                         5                 6                    7

   Transaction        Check /             Paid to/                      Description of Transaction           Uniform          Deposit     Disbursement            Balance
      Date             Ref. #          Received From                                                        Tran Code           $              $


12/21/2017            5023      PETER L. FEAR                 approved docket 624                           3210-000                           $22,236.00          $242,429.49
12/21/2017            5024      PETER L. FEAR                 approved docket 624                           3220-000                             $653.87           $241,775.62
12/31/2017                      Integrity Bank                Bank Service Fee                              2600-000                             $395.21           $241,380.41
01/15/2018            5025      International Sureties, LTD   Bond Payment                                  2300-000                             $154.63           $241,225.78
01/31/2018                      Integrity Bank                Bank Service Fee                              2600-000                             $358.84           $240,866.94
02/28/2018                      Integrity Bank                Bank Service Fee                              2600-000                             $323.19           $240,543.75
03/31/2018                      Integrity Bank                Bank Service Fee                              2600-000                             $357.33           $240,186.42
04/30/2018                      Integrity Bank                Bank Service Fee                              2600-000                             $345.30           $239,841.12
05/31/2018                      Integrity Bank                Bank Service Fee                              2600-000                             $356.29           $239,484.83
06/05/2018             (51)     BERKLY INSURANCE              Litigation settlement                         1249-000       $400,000.00                             $639,484.83
                                COMPANY
06/05/2018            5026      Daniel B. Spitzer             approved docket 646                           3210-600                          $190,961.91          $448,522.92
06/05/2018            5027      Daniel B. Spitzer             approved docket 646                           3220-610                           $18,076.18          $430,446.74
06/30/2018                      Integrity Bank                Bank Service Fee                              2600-000                             $592.61           $429,854.13
08/21/2018            5028      PETER L. FEAR                 final fee app approved Doc 671                3210-000                           $15,189.00          $414,665.13
08/21/2018            5029      PETER L. FEAR                 final fee app approved Doc 671                3220-000                             $523.28           $414,141.85
10/25/2018            5030      CHRIS RATZLAFF                Claim #: ; Distribution Dividend: 100.00;     3410-000                           $23,337.00          $390,804.85
10/25/2018            5031      CHRIS RATZLAFF                Claim #: ; Distribution Dividend: 100.00;     3420-000                              $43.24           $390,761.61
10/25/2018            5032      James E. Salven               Trustee Compensation                          2100-000                          $110,301.88          $280,459.73
10/25/2018            5033      James E. Salven               Trustee Expenses                              2200-000                            $2,059.52          $278,400.21
10/25/2018            5034      Brian L. Gwartz and           Claim #: 7; Distribution Dividend:            7100-000                           $23,144.12          $255,256.09
                                Cheryl A. Skigin Co           100.00;
10/25/2018            5035      Brian L. Gwartz and           Claim #: 7; Distribution Dividend:            4220-000                          $253,904.70             $1,351.39
                                Cheryl A. Skigin Co           100.00;
10/25/2018            5036      Brian L. Gwartz               Claim #: 8; Distribution Dividend:            7100-000                            $1,342.76                  $8.63
                                                              100.00;
10/25/2018            5037      Office of the United States   Claim #: 9; Distribution Dividend:            7100-000                                  $8.63                $0.00
                                Trustee                       100.00;




                                                                                                          SUBTOTALS        $400,000.00        $664,665.49
                                                                                                                                                        Page No: 6
Filed 02/04/19                                                          Case 13-16155                                                                               Doc 680
                                                                        FORM  2                                                                     Exhibit 9
                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16155-B-7                                                              Trustee Name:                           James E. Salven
 Case Name:                       WEILERT, MICHAEL AND DE MONTREMARE,                                       Bank Name:                              Independent Bank
                                  GENEVIEVE M.
 Primary Taxpayer ID #:           **-***1651                                                                Checking Acct #:                        ******6155
 Co-Debtor Taxpayer ID #:         **-***1652                                                                Account Title:
 For Period Beginning:            9/13/2013                                                                 Blanket bond (per case limit):          $1,000,000.00
 For Period Ending:               12/21/2018                                                                Separate bond (if applicable):

       1                 2                    3                                   4                                            5                6                    7

   Transaction        Check /            Paid to/                     Description of Transaction            Uniform          Deposit      Disbursement          Balance
      Date             Ref. #         Received From                                                        Tran Code           $               $


                                                                 TOTALS:                                                  $2,244,990.27   $2,244,990.27                  $0.00
                                                                     Less: Bank transfers/CDs                                $16,051.41           $0.00
                                                                 Subtotal                                                 $2,228,938.86   $2,244,990.27
                                                                     Less: Payments to debtors                                    $0.00           $0.00
                                                                 Net                                                      $2,228,938.86   $2,244,990.27


  For the period of 9/13/2013 to 12/21/2018                                           For the entire history of the account between 01/23/2014 to 12/21/2018

  Total Compensable Receipts:                         $2,852,264.63                   Total Compensable Receipts:                             $2,852,264.63
  Total Non-Compensable Receipts:                        $30,000.00                   Total Non-Compensable Receipts:                            $30,000.00
  Total Comp/Non Comp Receipts:                       $2,882,264.63                   Total Comp/Non Comp Receipts:                           $2,882,264.63
  Total Internal/Transfer Receipts:                      $16,051.41                   Total Internal/Transfer Receipts:                          $16,051.41


  Total Compensable Disbursements:                    $2,898,316.04                   Total Compensable Disbursements:                        $2,898,316.04
  Total Non-Compensable Disbursements:                        $0.00                   Total Non-Compensable Disbursements:                            $0.00
  Total Comp/Non Comp Disbursements:                  $2,898,316.04                   Total Comp/Non Comp Disbursements:                      $2,898,316.04
  Total Internal/Transfer Disbursements:                      $0.00                   Total Internal/Transfer Disbursements:                          $0.00
                                                                                                                                                               Page No: 7
Filed 02/04/19                                                               Case 13-16155                                                                                 Doc 680
                                                                             FORM  2                                                                       Exhibit 9
                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                           13-16155-B-7                                                                   Trustee Name:                           James E. Salven
 Case Name:                         WEILERT, MICHAEL AND DE MONTREMARE,                                           Bank Name:                               Independent Bank
                                    GENEVIEVE M.
 Primary Taxpayer ID #:             **-***1651                                                                     Checking Acct #:                        ******6156
 Co-Debtor Taxpayer ID #:           **-***1652                                                                     Account Title:
 For Period Beginning:              9/13/2013                                                                      Blanket bond (per case limit):          $1,000,000.00
 For Period Ending:                 12/21/2018                                                                     Separate bond (if applicable):

       1                 2                       3                                   4                                                5                6                    7

   Transaction        Check /             Paid to/                       Description of Transaction                Uniform          Deposit       Disbursement         Balance
      Date             Ref. #          Received From                                                              Tran Code           $                $


10/03/2013             (46)     JUSTIN COOK                   Rents                                               1122-000           $2,000.00                             $2,000.00
10/17/2013             (46)     JUSTIN COOK                   nsf check. refer matter to counsel                  1122-000           $2,000.00                             $4,000.00
10/24/2013             (47)     POPE MANAGEMENT               Rents                                               1222-000           $4,140.20                             $8,140.20
10/31/2013                      Integrity Bank                Bank Service Fee                                    2600-000                                 $3.23           $8,136.97
11/05/2013             (46)     DEP REVERSE: JUSTIN           nsf check. refer matter to counsel                  1122-000          ($2,000.00)                            $6,136.97
                                COOK
11/08/2013                      POPE MANAGEMENT               Rent reduction due to house showings                    *              $2,309.40                             $8,446.37
                                                              while on the market
                       {47}                                   Rents                              $2,795.00        1222-000                                                 $8,446.37
                                                              Mgt. fee                                $(223.60)   2420-000                                                 $8,446.37
                                                              Pest control                             $(52.00)   2420-000                                                 $8,446.37
                                                              Landscaping                             $(210.00)   2420-000                                                 $8,446.37
11/30/2013                      Integrity Bank                Bank Service Fee                                    2600-000                             $11.50              $8,434.87
12/11/2013             (47)     POPE MANAGEMENT               Rents                                               1222-000           $2,144.40                          $10,579.27
12/31/2013                      Integrity Bank                Bank Service Fee                                    2600-000                             $15.28           $10,563.99
01/10/2014                      POPE MANAGEMENT               Rent reduction due to house showings                    *              $2,309.40                          $12,873.39
                                                              while on the market
                       {47}                                    Rents                             $2,795.00        1222-000                                              $12,873.39
                                                              Pope property mgt. fees                 $(223.60)   2420-000                                              $12,873.39
                                                              Pest/Rat control                         $(52.00)   2420-000                                              $12,873.39
                                                              landscaping                             $(210.00)   2420-000                                              $12,873.39
01/13/2014            5001      International Sureties, LTD   2014 bond premium                                   2300-000                             $11.82           $12,861.57
01/31/2014                      Integrity Bank                Bank Service Fee                                    2600-000                             $18.96           $12,842.61
02/10/2014                      POPE MANAGEMENT               Rent reduction due to house showings                    *              $2,309.40                          $15,152.01
                                                              while on the market
                       {47}                                    Rents                             $2,795.00        1222-000                                              $15,152.01
                                                              Pope Property Mgt.                      $(223.60)   2420-000                                              $15,152.01
                                                              Rat control                              $(52.00)   2420-000                                              $15,152.01
                                                              Landscaping                             $(210.00)   2420-000                                              $15,152.01
02/26/2014            5002      James Salven Trustee          case consolidated with individual case              9999-000                          $15,152.01                    $0.00
                                                              13-16156.
                                                              transfer funds
03/11/2014                      POPE MANAGEMENT               Rents                                                   *                $899.40                                  $899.40
                       {47}                                   $899.40 after expenses.              $2,795.00      1222-000                                                      $899.40
                                                              Management fees                         $(223.60)   2420-000                                                      $899.40
                                                              Pest/rat control                         $(52.00)   2420-000                                                      $899.40
                                                              Landscaping                             $(210.00)   2420-000                                                      $899.40
                                                              Yeates & Mendoza                     $(1,410.00)    2420-000                                                      $899.40
                                                              Roofing for roofing
                                                              repairs/materials.
03/18/2014                      Transfer To:                  in wrong account                                    9999-000                            $899.40                     $0.00
                                #*******6155


                                                                                                             SUBTOTALS              $16,112.20      $16,112.20
                                                                                                                                                       Page No: 8
Filed 02/04/19                                                         Case 13-16155                                                                               Doc 680
                                                                       FORM  2                                                                     Exhibit 9
                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16155-B-7                                                             Trustee Name:                           James E. Salven
 Case Name:                       WEILERT, MICHAEL AND DE MONTREMARE,                                      Bank Name:                              Independent Bank
                                  GENEVIEVE M.
 Primary Taxpayer ID #:           **-***1651                                                               Checking Acct #:                        ******6156
 Co-Debtor Taxpayer ID #:         **-***1652                                                               Account Title:
 For Period Beginning:            9/13/2013                                                                Blanket bond (per case limit):          $1,000,000.00
 For Period Ending:               12/21/2018                                                               Separate bond (if applicable):

       1                 2                    3                                  4                                            5                6                    7

   Transaction        Check /            Paid to/                    Description of Transaction            Uniform          Deposit      Disbursement           Balance
      Date             Ref. #         Received From                                                       Tran Code           $               $


                                                                TOTALS:                                                     $16,112.20      $16,112.20                  $0.00
                                                                    Less: Bank transfers/CDs                                     $0.00      $16,051.41
                                                                Subtotal                                                    $16,112.20          $60.79
                                                                    Less: Payments to debtors                                    $0.00           $0.00
                                                                Net                                                         $16,112.20          $60.79


  For the period of 9/13/2013 to 12/21/2018                                          For the entire history of the account between 10/02/2013 to 12/21/2018

  Total Compensable Receipts:                           $19,464.60                   Total Compensable Receipts:                                   $19,464.60
  Total Non-Compensable Receipts:                            $0.00                   Total Non-Compensable Receipts:                                    $0.00
  Total Comp/Non Comp Receipts:                         $19,464.60                   Total Comp/Non Comp Receipts:                                 $19,464.60
  Total Internal/Transfer Receipts:                          $0.00                   Total Internal/Transfer Receipts:                                  $0.00


  Total Compensable Disbursements:                       $3,413.19                   Total Compensable Disbursements:                               $3,413.19
  Total Non-Compensable Disbursements:                       $0.00                   Total Non-Compensable Disbursements:                               $0.00
  Total Comp/Non Comp Disbursements:                     $3,413.19                   Total Comp/Non Comp Disbursements:                             $3,413.19
  Total Internal/Transfer Disbursements:                $16,051.41                   Total Internal/Transfer Disbursements:                        $16,051.41
                                                                                                                                                       Page No: 9
Filed 02/04/19                                                          Case 13-16155                                                                              Doc 680
                                                                        FORM  2                                                                    Exhibit 9
                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16155-B-7                                                              Trustee Name:                          James E. Salven
 Case Name:                      WEILERT, MICHAEL AND DE MONTREMARE,                                        Bank Name:                             Independent Bank
                                 GENEVIEVE M.
 Primary Taxpayer ID #:          **-***1651                                                                 Checking Acct #:                       ******6156
 Co-Debtor Taxpayer ID #:        **-***1652                                                                 Account Title:
 For Period Beginning:           9/13/2013                                                                  Blanket bond (per case limit):         $1,000,000.00
 For Period Ending:              12/21/2018                                                                 Separate bond (if applicable):

       1                 2                    3                                   4                                             5              6                    7

   Transaction        Check /            Paid to/                     Description of Transaction            Uniform          Deposit     Disbursement          Balance
      Date             Ref. #         Received From                                                        Tran Code           $              $




                                                                                                                                                  NET           ACCOUNT
                                                                           TOTAL - ALL ACCOUNTS                    NET DEPOSITS              DISBURSE          BALANCES

                                                                                                                          $2,245,051.06 $2,245,051.06                   $0.00




  For the period of 9/13/2013 to 12/21/2018                                           For the entire history of the case between 09/13/2013 to 12/21/2018

  Total Compensable Receipts:                         $2,871,729.23                   Total Compensable Receipts:                             $2,871,729.23
  Total Non-Compensable Receipts:                        $30,000.00                   Total Non-Compensable Receipts:                            $30,000.00
  Total Comp/Non Comp Receipts:                       $2,901,729.23                   Total Comp/Non Comp Receipts:                           $2,901,729.23
  Total Internal/Transfer Receipts:                      $16,051.41                   Total Internal/Transfer Receipts:                          $16,051.41


  Total Compensable Disbursements:                    $2,901,729.23                   Total Compensable Disbursements:                        $2,901,729.23
  Total Non-Compensable Disbursements:                        $0.00                   Total Non-Compensable Disbursements:                            $0.00
  Total Comp/Non Comp Disbursements:                  $2,901,729.23                   Total Comp/Non Comp Disbursements:                      $2,901,729.23
  Total Internal/Transfer Disbursements:                 $16,051.41                   Total Internal/Transfer Disbursements:                     $16,051.41




                                                                                                       /s/ JAMES E. SALVEN
                                                                                                       JAMES E. SALVEN
